         Case 1:17-cv-10025-LTS
         Case 1:17-cv-10025-LTS Document
                                 Document59
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                                               Filed 06/27/18
                                                   06/27/18    Page
                                                            Page 1 of11of 1



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
Civil Action No.
1:17-cv-10025-LTS


                           SAMANTHA WHITEHEAD, ET. AL.
                                    Plaintiffs,


                                             v.


                   INOTEK PHARMACEUTICALS CORPORATION,ET. AL.
                                   Defendants


                          CLOSING ORDER DISMISSING CASE
SOROKIN, D.J.
       In accordance with the Court’s Order (CM/ECF No. 58) issued on June 27, 2018,

allowing Defendants’ Motion to Dismiss the Second Amended Complaint, this case is hereby

dismissed and closed.

SO ORDERED.




                                                  /s/ Leo T. Sorokin
                                                  UNITED STATES DISTRICT COURT


June 27, 2018
